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 1   LAW OFFICES OF CHRIS COSCA
     CHRISthCOSCA          CA SBN 144546
 2   1007 7 Street, Suite 210
     Sacramento, CA 95814
 3   (916) 440-1010
 4   Attorney for Defendant
     SHARON HARRIS
 5

 6

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 8
                              IN THE UNITED STATES DISTRICT COURT
 9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,                        )   2: 10-cr-00299 EJG
                                                      )
13                   Plaintiff,                       )   WAIVER OF APPEARANCE AS TO
                                                      )   DEFENDANT SHARON HARRIS
14          vs.                                       )
                                                      )
15   SHARON HARRIS,                                   )
                                                      )
16                                                    )
                                                      )
17                   Defendant.                       )
                                                      )
18                                                    )

19
            Defendant SHARON HARRIS hereby waives her right to be personally present in open
20
     court for the hearing of any status conference or other proceeding in this case, except that she
21
     agrees to be present for all hearings regarding motions, trial setting, trial confirmation, plea,
22
     sentencing and jury trial; defendant also agrees to be personally present in court when so
23

24
     ordered.
            Defendant hereby requests the court to proceed in her absence. She agrees that her
25
     interests will be deemed represented at all times by the presence of her undersigned attorney,
26
     the same as if she were personally present.
27
            Defendant further acknowledges that she has been informed of her rights under the
28




                                    Waiver of Defendant’s Appearance
                                             USA v. HARRIS
     Case 2:10-cr-00299-WBS Document 162 Filed 11/04/11 Page 2 of 2


 1   Speedy Trial Act (Title 18 U.S.C. Sections 3161 – 3174), and has authorized her attorney to set
 2   times for hearings and to agree to delays under the provisions of the Speedy Trial Act without
 3   her being personally present.
 4

 5
     Dated: November 1, 2011                             Respectfully submitted,
 6

 7

 8                                                       /s/ Sharon Harris_______              ____
                                                         SHARON HARRIS
 9                                                       Defendant
10

11
                                                         _/s/ Chris Cosca ___________________
12                                                       CHRIS COSCA
                                                         Attorney for Defendant,
13
                                                         SHARON HARRIS
14

15                                               ORDER
16

17
     IT IS SO ORDERD.
18

19

20   Dated: November 3, 2011                             /s/ Edward J. Garcia
                                                         EDWARD J. GARCIA, JUDGE
21                                                       UNITED STATES DISTRICT COURT
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23

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                                     Waiver of Defendant’s Appearance
                                              USA v. HARRIS
